    Case 23-15758-SLM            Doc 202-6 Filed 04/05/24 Entered 04/05/24 14:41:02                       Desc Ntc
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Form 137 − aplccmpn

                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
MLK Jr Federal Building
50 Walnut Street
Newark, NJ 07102

                                         Case No.: 23−15758−SLM
                                         Chapter: 11
                                         Judge: Stacey L. Meisel

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Supor Properties Bergen Avenue LLC
   433 Bergen Avenue
   Kearny, NJ 07032
Social Security No.:

Employer's Tax I.D. No.:
  87−1657729

                      NOTICE OF HEARING ON APPLICATION FOR COMPENSATION


      NOTICE IS HEREBY GIVEN that there will be a hearing held before the honorable Stacey L. Meisel on:

Date:       5/7/24
Time:       02:30 PM
Location:    Courtroom 3A, Martin Luther King Jr. Federal Building, 50 Walnut Street, Courtroom 3A, Newark, NJ
07102

for the purpose of acting on applications for compensation. Attendance by debtor(s) or creditors is welcome, but not
required.

      The following applications for compensation have been filed:

APPLICANT(S)
McManimon Scotland & Baumann LLC

COMMISSION OR FEES
$53,924.00

EXPENSES
$1,524.3

If this is a chapter 13 case, the fees and expenses awarded:

                will not reduce the amount to be paid to general unsecured
                creditors under the plan.

                will reduce the amount to be paid to general unsecured
                creditors under the plan as follows:

Debtor(s) or other parties who wish to object must file an objection not later than 7 days prior to the hearing date.
Objections must be filed with the Court and served on the applicant and other interested parties.

      An appearance is not required on an application for compensation unless an objection is filed.
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Dated: April 8, 2024
JAN:

                                               Jeanne Naughton
                                               Clerk
